      Case 1:19-cv-00182-AW-GRJ Document 26 Filed 09/25/20 Page 1 of 2




          IN THE UNITED STATES DISTRICT COURT FOR THE
                 NORTHERN DISTRICT OF FLORIDA
                      GAINESVILLE DIVISION

DERRICK L. WALKER,
      Plaintiff,
v.                                                 Case No. 1:19-cv-182-AW-GRJ
PROGRESSIVE SELECT INSURANCE
COMPANY,
     Defendant.
_______________________________/
        ORDER ADOPTING REPORT AND RECOMMENDATION

      Derrick Walker sued Progressive Select Insurance Company, asserting

various claims related to its claim handing. Progressive moved to dismiss, and the

magistrate judge issued a report and recommendation that recommended dismissal.

ECF No. 25. No objections have been filed. I have considered the report and

recommendation, which I now adopt and incorporate into this order. The motion to

dismiss (ECF No. 13) is GRANTED, and the Complaint (ECF No. 1) is DISMISSED

without prejudice.

      Because it is not clear that Walker could not allege to state a claim for breach

of contract (as opposed to a bad-faith claim, which the report and recommendation

correctly concludes is unripe), I will allow Walker to file an amended complaint. He

must do so within 20 days; otherwise he will be deemed to have abandoned the case.




                                          1
      Case 1:19-cv-00182-AW-GRJ Document 26 Filed 09/25/20 Page 2 of 2




      If Walker timely files an amended complaint, the clerk must return the matter

to the magistrate judge for further proceedings.

      SO ORDERED on September 25, 2020.

                                       s/ Allen Winsor
                                       United States District Judge




                                         2
